             IN THE COURT OF APPEALS OF NORTH CAROLINA

                                2021-NCCOA-208

                                No. COA19-962-2

                                Filed 18 May 2021

New Hanover County No. 17 CVS 003743

WILLIAM E. BENSON, III, and wife, MONIQUE L. RIBANDO, Plaintiffs,

            vs.

R. LEE PREVOST, and wife SCHARME S. PREVOST, Defendants and Third-Party
Plaintiffs,

            vs.

MICHAEL S. BURNHAM, DANIEL SMITH, and wife, DENISE B. SMITH, Third-
Party Defendants.


      Appeal by Plaintiffs from orders entered 25 April 2019, 23 May 2019, and 29

May 2019, by Judge Paul M. Quinn in New Hanover County Superior Court. Heard

in the Court of Appeals 25 August 2020. Original opinion filed on 31 December 2020

was withdrawn and Motion to Reconsider granted on 4 March 2021.


      Fox Rothschild LLP, by Robert H. Edmunds, Jr., and Elizabeth Brooks Scherer,
      and Law Offices of G. Grady Richardson, Jr., P.C., by G. Grady Richardson,
      Jr., and Jennifer L. Carpenter, for Plaintiff.

      Shipman &amp; Wright, LLP, by Gary K. Shipman for Defendants.

      Block, Crouch, Keeter, Behm, &amp; Sayed, LLP, by Auley M. Crouch, III, for Third-
      Party Defendants.


      DILLON, Judge.
                                       IN RE J.N. &amp; L.N.

                                        2021-NCCOA-208

                                       Opinion of the Court



                                         I. Background

¶1         This matter involves a real property dispute between next-door neighbors who

     own two lots within a three-lot subdivision originally developed by Third-Party

     Defendants (the “Developers”). The Developers developed three adjacent waterfront

     lots (Lots 1-3) at Wrightsville Beach, along with a dock extending into the water from

     the lots. The dock leads to three boat slips (Slips A-C). Prior to selling any lot, the

     Developers filed a map depicting a driveway easement over a portion of Lot 1 for the

     benefit of Lot 2. The Developers eventually sold each lot, with each lot owner entitled

     to use a specific boat slip. This matter concerns two disputes between the current

     owners of Lot 1 and Lot 2 regarding the scope of the driveway easement and

     ownership of boat slips.

¶2         Defendants R. Lee Prevost and Scharme S. Prevost own Lot 2. They purchased

     Lot 2 from the Developers in 2015. The conveyance included rights to the driveway

     easement located on Lot 1 and also exclusive use of Slip C. There is evidence that

     Defendants thought they were receiving Slip A. Slip A is the superior boat slip in

     that it had been improved with a boat lift, whereas Slip C had not.
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



¶3          The following year, in 2016, Plaintiffs William E. Benson and Monique L.

     Ribando purchased Lot 1 from the Developers.1 Plaintiffs’ interest in Lot 1 was, of

     course, subject to the driveway easement in favor of Defendants as owners of Lot 2.

     Though Plaintiffs’ written contract with the Developers indicated that they would

     also receive Slip C (the boat slip that the Developers had already, though perhaps

     inadvertently, conveyed to Defendants the prior year) at closing, Plaintiffs were

     deeded exclusive use of Slip A, the slip with the boat lift.

¶4          A dispute subsequently arose when Plaintiffs noticed that Defendants were

     parking vehicles within the driveway easement on Plaintiffs’ Lot 1 rather than simply

     using the easement for ingress and egress to Lot 2. Also, a dispute arose regarding

     which party owned which boat slip.

¶5          Plaintiffs brought this action to resolve the two disputes. After a hearing on

     the matter, the trial court entered summary judgment in favor of Defendants on both

     issues, concluding that Defendants could park cars within the driveway easement

     and that Defendants were the rightful owners of Slip A—the better boat slip—




            1 An affiliate of the Developers actually conveyed Lot 1 to Plaintiffs.In September
     2015, a month after selling Lot 2/Slip C to Defendants, the Developers conveyed Lot 1/Slip A
     to an affiliate entity in anticipation of building the home on Lot 1. This affiliate entity
     conveyed Lot 1/Slip A to Plaintiffs. However, for ease of reading, the “Developers” refers
     either to the Developers or its affiliate, depending on the context.
                                      IN RE J.N. &amp; L.N.

                                       2021-NCCOA-208

                                      Opinion of the Court



     notwithstanding the deeds. The trial court also awarded Defendants attorney’s fees.

     Plaintiffs appeal.

                                         II. Analysis

¶6         Summary judgment is appropriate when there is no genuine issue of material

     fact; and we review a summary judgment order de novo. Daughtridge v. Tanager

     Land, LLC, 373 N.C. 182, 186, 835 S.E.2d 411, 415 (2019); N.C. Gen. Stat. § 1A-1,

     Rule 56(c) (2015). We address the two property issues and the costs and attorney’s

     fees issue in turn.

                                   A. Driveway Easement

¶7         The parties dispute the “scope” of the parties’ rights to use the driveway

     easement (the “Easement”) located on Lot 1.
                                       IN RE J.N. &amp; L.N.

                                        2021-NCCOA-208

                                       Opinion of the Court



¶8         In 2015, just prior to conveying any of the lots, the Developers recorded the

     map below (the “Map”), which depicts the driveway easement shaded on Lot 1.




     The recording of this Map did not actually convey anything, as both the dominant

     estate (Lot 2) and the servient estate (Lot 1) were still held by the same owner.

¶9                On 28 August 2015, shortly after the Developers recorded the Map, the

     Developers conveyed Lot 2 (the lot on the right with an existing home as depicted on
                                         IN RE J.N. &amp; L.N.

                                          2021-NCCOA-208

                                         Opinion of the Court



       the Map) to Defendants. The deed contained the following language, which also

       granted Defendants rights to the Easement depicted on the recorded Map:

                    Together with and subject to a Driveway Easement
                    [located on Lot 1], shown as “Proposed Driveway Easement
                    Area = 1050 S.F.” [as recorded on the Map].

¶ 10         At the time Defendants purchased Lot 2, Lot 1 had not yet been developed.

       The garage area of the existing home on Lot 2 faced (and continues to face) the

       Easement, as shown in the photographs below. These photos were offered as exhibits

       at the summary judgment hearing and were taken years later, after Lot 1 had been

       fully developed. The area depicted as the “Driveway Easement” in these photos does

       not appear to fully cover the Easement area as depicted on the Map.

¶ 11         In 2016, the Developers constructed a home on Lot 1 and sold it to Plaintiffs.

       Developers had originally planned to design a home on Lot 1 such that the

       homeowner would also use the Driveway Easement to access the garage area.

       However, the Developers ultimately decided on a design with a garage on the other

       side, opposite the Easement, accessed by a different driveway (unrelated to the

       dispute). The photos below show that Lot 1, as developed, contains a privacy wall

       adjacent to the part of the Easement that is now paved, a “back gate” which leads

       into Lot 1’s back yard, and a “side gate” which accesses the home on Lot 1.
IN RE J.N. &amp; L.N.

 2021-NCCOA-208

Opinion of the Court
                                         IN RE J.N. &amp; L.N.

                                          2021-NCCOA-208

                                         Opinion of the Court



¶ 12         Since purchasing Lot 2 in 2015, Defendants have made use of the Easement to

       access their garages and parking pad on Lot 2. They have also occasionally parked

       cars within the Easement.      Sometime after purchasing Lot 1, Plaintiffs began

       protesting Defendants’ parking of vehicles within the Easement, contending it blocks

       their ability to access their back gate. For their part, Defendants contend that

       Plaintiffs have no right to drive vehicles on the Easement to access the back gate, as

       this use would interfere with Defendants’ Easement rights.

¶ 13         The trial court entered summary judgment in favor of Defendants on this issue.

       The court determined that Defendants and their successors “are entitled to make

       reasonable use of the [ ] Easement [as recorded on the Map]” and that the parking of

       vehicles is a reasonable use. Further, the trial court determined that Plaintiffs and

       their successors could only use the Easement to access their side and back gates by

       foot and not by a vehicle. For the reasons below, we affirm as modified herein.

¶ 14         An easement is an interest in land and is subject to the statute of frauds. See

       N.C. Gen. Stat. § 22-2 (2015). An easement, like any other conveyance, “is to be

       construed in such a way as to effectuate the intention of the parties as gathered from

       the entire instrument” and not from detached portions. Higdon v. Davis, 315 N.C.

       208, 215-16, 337 S.E.2d 543, 547 (1985) (emphasis added).

¶ 15         Here, the location of the Easement in favor of Defendants is expressly defined

       by the Map, referenced in the recorded deed from the Developers to Defendants. See
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



       Collins v. Land Co., 128 N.C. 563, 565, 39 S.E. 21, 22 (1901) (“[A] map or plat, referred

       to in a deed, becomes a part of the deed as if it were written therein[.]”). When

       Plaintiffs purchased Lot 1, they took title subject to Defendants’ Easement rights as

       recorded.   Borders v. Yarbrough, 237 N.C. 540, 542, 75 S.E.2d 541, 543 (1953)

       (“Grantees take title to lands subject to duly recorded easements which have been

       granted by their predecessors in title.”).

¶ 16         The Map referenced in the Developers’ deed to Defendants unambiguously

       marks the specific location of the Easement. The Easement is depicted as the shaded

       area on Lot 1, adjacent to its shared property line with Lot 2. The Map describes the

       shaded area to be “Area 1,060 S.F.”, which appears to be accurate: the area forms a

       trapezoid, with the average length from the street being slightly over fifty (50) feet

       and the average width being slightly over twenty (20) feet. Neither party makes any

       argument that the location of the Easement is not as described on the Map or has

       been relocated. See Cooke v. Electric Membership Corp., 245 N.C. 453, 458, 96 S.E.2d

       351, 354 (1957). Therefore, the location of the Easement is as described on the Map.

¶ 17         There is no clear language, however, defining the scope of Defendants’ rights

       to use the Easement beyond the language labeling the shaded area on the Map as a

       “Proposed Driveway Easement” and the reference in the deed conveying the

       Easement rights as a “Driveway Easement.”
                                         IN RE J.N. &amp; L.N.

                                          2021-NCCOA-208

                                         Opinion of the Court



¶ 18         Our task is to determine whether the intent of the parties regarding the

       Easement’s scope—specifically whether the scope included the right to park vehicles

       in the Easement—can be gleaned from these recorded instruments. We note that our

       Court has instructed that if the language in an easement is ambiguous as to its scope:

                    [T]he scope may be determined by reference to the
                    attendant circumstances, the situation of the parties, and
                    by the acts of the parties in the use of the easement
                    immediately following the grant [but that] if the
                    conveyance is silent as to the scope of the easement,
                    extrinsic evidence is inadmissible as to the scope or extent
                    of the easement. However, in the latter situation, a
                    reasonable use is implied.

       Swaim v. Simpson, 120 N.C. App. 863, 864, 463 S.E.2d 785, 786-87 (1995). Also, our

       Supreme Court has instructed that an easement extends to all “uses directly or

       incidentally conducive to the advancement of the purpose for which the right of way

       was acquired, and the owner retains merely the title in fee, carrying the right to make

       such use as in no way interferes with the full and free exercise of the easement.”

       Light Co. v. Bowman, 229 N.C. 682, 688, 51 S.E.2d 191, 195 (1949) (citation omitted).

¶ 19         It is unambiguous that the purpose of the easement is to allow Defendants to

       use the Easement as a “driveway.” What is less clear is whether “driveway” use

       includes the right to park vehicles in the Easement or simply the right to use the

       driveway for ingress and egress between the public road and Lot 2. There is no

       express language which restricts the use of the driveway easement for “ingress and
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



       egress.” We note that many driveways are used by their owners to park cars, while

       others are used generally only for just ingress and egress.

¶ 20         Looking at the Map as a whole, we conclude that the trial court correctly

       determined that the scope of Defendants’ rights includes the right to park vehicles in

       parts of the Easement area. We are persuaded in large part by the fact that the

       Easement area, as defined on the Map, is on average over twenty (20) feet wide. We

       are also persuaded by the fact that the Easement is short in length and located

       immediately adjacent to Defendants’ home, as shown on the Map.              A narrower

       driveway easement would suggest an intent by the grantor that its scope be limited

       to ingress and egress. But the creation of a driveway easement that is approximately

       twenty (20) feet wide to be used by the owner of a vacation home, especially where

       the easement is close to the home, suggests an intent that the “driveway” use also

       include the right to park cars, at least on occasion. This right, though, does not extend

       to the parking of cars in a way that obstructs the entire width of the Easement as

       shown on the Map, as such use would deprive the owners of the servient estate (Lot

       1) of the opportunity to make reasonable use of that part of their property.

¶ 21         There is plenty of room within the Easement as depicted on the Map for

       Defendants to park vehicles and still leave room for Plaintiffs to use the Easement

       for their ingress and egress to the back part of Lot 1. We note, however, that it

       appears from the photos that after conveying Easement rights to Defendants, the
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



       Developers placed permanent obstructions within the Easement area, as depicted on

       the Map, when they developed the house on Lot 1. That is, the easement area as

       depicted in the photos appears smaller than the Easement depicted on the Map. For

       instance, the boundary at the end of the Easement is depicted on the Map as being

       approximately fourteen (14) feet long. That boundary as depicted on the aerial photo,

       though, appears much shorter (comparing it to the width of the truck in the photo).

       It appears from the photos that after conveying Easement rights to Defendants, the

       Developers built the privacy wall within the Easement, an area the owner of Lot 1

       could have used for its own ingress and egress to other portions of Lot 1.

¶ 22         We affirm the trial court’s determination that the parking of cars by

       Defendants in the Easement is generally allowed. Our Supreme Court instructs,

       though, that “[t]he reasonable use and enjoyment of an easement is to be determined

       in the light of the situation of the property and the surrounding circumstances [and]

       what is a reasonable use is a question of fact [for a jury].” Shingleton v. State, 260

       N.C. 451, 457, 133 S.E.2d 183, 187 (1963).          Therefore, the parking of cars by

       Defendants in the Easement must be reasonable. And it may be that a jury, for

       instance, may deem Defendants’ parking of cars in the Easement, while leaving the

       parking pad and garages on Lot 2 vacant, an unreasonable use. (The trial court made

       no ruling regarding the extent that Defendants may utilize the Easement for parking,

       as such questions might be for a jury to resolve, based on specific facts.)
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



¶ 23         We modify the trial court’s determination regarding Plaintiffs’ rights to use the

       Easement, striking the portion that Plaintiffs may never drive a vehicle over the

       Easement to access the back of their property, but may only use the Easement for

       pedestrian traffic. To be sure, Plaintiffs may not use the Easement in a way that

       interferes with the rights of Defendants to use the Easement for ingress and egress

       and to park vehicles. However, Plaintiffs, as the owners of the servient estate, “may

       [still] use the land in any manner and for any purpose which does not interfere with

       the full and free use of the easement[.]” Harris v. Southern Railway Co., 100 N.C.

       App. 373, 378, 396 S.E.2d 623, 626 (1990). There may be instances where using the

       Easement for vehicle ingress and egress to access the back or side gate of Lot 1 would

       not interfere with Defendants’ enjoyment of their Easement rights. For instance,

       such use may be reasonable during times when Defendants are not parking cars in

       the Easement area.2 Accordingly, we reverse that portion of the order and hold that

       Plaintiffs may use the land in any manner which does not interfere with Defendants’

       enjoyment of the Easement, which may include at times, the right to drive vehicles

       on the Easement to access their back and side gates.

                                            B. Boat Slips




             2    We note that, assuming the privacy fence is actually within the Easement,
       Defendants have made no argument or claim that the decision by Plaintiffs’ predecessor in
       title to construct the fence interferes with their ability to use the Easement.
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



¶ 24         The second issue involves a dispute between Plaintiffs and Defendants as to

       the ownership of Slip A and Slip C. Though Slip C was deeded to Defendants by the

       Developers in 2015, Defendants claim that this was a mistake. Defendants do not

       contend that Plaintiffs, who did not purchase Lot 1 until the following year, knew

       about the mistake when the Developers “mistakenly” conveyed Slip C to Defendants

       or that Plaintiffs were otherwise involved at that time. But Defendants do claim, and

       there is evidence to show, that Plaintiffs came to know that a mistake might have

       been made when they closed their purchase of Lot 1/Slip A with the Developers.

¶ 25         The timeline relevant to this dispute is as follows:

¶ 26         In July 2015, Defendants entered into a written contract to purchase Lot 2,

       with exclusive rights to Slip A, the one with the boat lift.

¶ 27         On 25 August 2015, before closing on the sale of Lot 2 with Defendants, the

       Developers recorded covenants which stated, “Boat Slip A has been made

       appurtenant to and runs with the land of Lot 1 [and NOT Lot 2] . . . Boat Slip C has

       been made appurtenant to and runs with the land of Lot 2.” This recorded instrument

       conflicts with the July purchase contract.

¶ 28         Three days later, on 28 August 2015, Defendants closed their purchase of Lot

       2 with the Developers. The deed of conveyance provided that Defendants were

       receiving Lot 2 “[t]ogether with Boat Slip C[,]” which was consistent with the

       covenants recorded days before, but which conflicted with Defendants’ purchase
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



       contract.   Defendants, though, began using Slip A, the boat slip with a lift,

       notwithstanding that they had been deeded Slip C.

¶ 29         In 2016, the Developers sold Lot 1 to Plaintiffs. There is evidence that before

       closing, Plaintiffs believed that they were getting Slip C, the inferior slip. However,

       they came to learn that Developers had already conveyed Slip C to Defendants,

       though perhaps inadvertently. They came to learn that, as a matter of public record,

       the Developers no longer owned Slip C, but still owned Slip A. But Plaintiffs told the

       Developers at closing that they wanted to proceed with the closing and “keep the deed

       [conveying Slip A to them] as it was.” Accordingly, the Developers executed a deed

       conveying Lot 1 to Plaintiffs, together with “the exclusive use of Slip A[.]”

¶ 30         There is evidence that after closing, Plaintiffs made use of the inferior Slip C,

       as Defendants were already making use of Slip A.          However, when Defendants

       refused to stop parking cars in the Easement, Plaintiffs began protesting that

       Defendants were using the wrong boat slip.

¶ 31         Plaintiffs brought this action, not only to determine the parties’ rights with

       respect to the Easement, but also for an order declaring them to be the owners of Slip

       A. The trial court, though, granted summary judgment in favor of Defendants on this

       issue. For the reasoning below, we reverse the trial court and conclude that Plaintiffs

       are entitled to the boat slip which was deeded to them by the Developers.
                                          IN RE J.N. &amp; L.N.

                                             2021-NCCOA-208

                                          Opinion of the Court



¶ 32         With the passage of the Connor Act in 1885, our General Assembly made North

       Carolina a pure race state. N.C. Gen. Stat. § 47-18(a) (2015). Under our pure race

       recording statute, “[a]s between two purchasers for value of the same interest in land,

       the one whose deed is first registered acquires title.” Bourne v. Lay &amp; Co., 264 N.C.

       33, 35, 140 S.E.2d 769, 771 (1965).

¶ 33         There is evidence that there were conversations about the “flipped” boat slips

       between the attorneys for Plaintiffs and the Developers prior to closing, and that they

       agreed to “straighten out” the boat slip issue later. When Plaintiffs were closing their

       purchase of Lot 1 in 2016, they were aware that the Developers had intended to

       convey Slip A to Defendants the prior year, but there was no deed in the Developers’

       chain of title to indicate that they had yet parted with Slip A.        For their part,

       Defendants had not filed any litigation—which could have included the filing of a

       notice of lis pendens—to reform their deed from the Developers, something they could

       have done to protect their interests. See Hill v. Pinelawn Memorial Park, Inc., 304

       N.C. 159, 163, 165, 282 S.E.2d 779, 782, 783 (1981) (finding “[i]f [a purchaser] finds

       no record of [a prior conveyance], even if he knows there has been a prior conveyance,

       he may record his deed with the assurance that his title will prevail” and “[w]hile

       actual notice of another unrecorded conveyance does not preclude the status of

       innocent purchaser for value, actual notice of pending litigation affecting title to the

       property does preclude such status.”); see also Rollins v. Henry, 78 N.C. 342, 351
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



       (1878) (“When a person buys property pending an action of which he has notice, actual

       or presumed, in which the title to it is in issue, from one of the parties to the action,

       he is bound by the judgment in the action[.]”). Defendants argue that they had no

       knowledge of the error in the deed before Plaintiffs told them after Plaintiffs’ closing;

       however, they were on constructive notice as the covenants were recorded by the

       Developers days prior to Defendants’ closing and deed recording.

¶ 34         Defendants argue that boat slips, themselves, are not interests in real estate

       and, therefore, not subject to the Connor Act. We disagree. It is true that the land

       under navigable waters in North Carolina—including the land under which

       Plaintiffs’ and Defendants’ boats are situated when tied to the dock—belong to the

       State of North Carolina. See Miller v. Coppage, 261 N.C. 430, 435, 135 S.E.2d 1, 5
       (1964). But an interest in land that abuts navigable water—such as Lots 1 and 2—

       includes certain littoral or riparian rights to that navigable water. See Jones v.

       Turlington, 243 N.C. 681, 683, 92 S.E.2d 75, 77 (1956). These rights may include the

       right to construct docks, piers, and the like from one’s land to access the water which

       might otherwise interfere with the public’s right to use some portion of the navigable

       water adjacent to the owner’s land:

                    [A] littoral proprietor and a riparian owner, as is
                    universally conceded, have a qualified property in the
                    water frontage belonging, by nature, to their land, the chief
                    advantage growing out of the appurtenant estate in the
                    submerged land being the right of access over an extension
                                         IN RE J.N. &amp; L.N.

                                          2021-NCCOA-208

                                         Opinion of the Court



                    of their water fronts to natural water, and the right to
                    construct wharves, piers, or landings, subject to such
                    general rules and regulations as the Legislature . . . may
                    prescribe for the protection of public rights in rivers or
                    navigable waters.

       Capune v. Robbins, 273 N.C. 581, 588, 160 S.E.2d 881, 886 (1968) (citations and

       quotation marks omitted).

¶ 35         In the present case, the Developers, prior to conveying Lots 1 and 2,

       constructed a dock, including three slips from which boats could access the dock, in

       the exercise of their riparian rights to their land. The Developers then subdivided

       their land and the rights to access the dock. The Developers conveyed Lot 2 with the

       right to access the dock at Slip C to Defendants, thereby retaining Lot 1 and the right

       to access the dock at Slip A. The Developers subsequently conveyed Lot 1, which

       included the Developers’ remaining riparian rights to access the dock at Slip A. As

       such, we hold that the ownership of each boat slip (which includes the right to access

       the dock at a certain point) is part of the littoral or riparian rights associated with

       the Lots and is therefore an interest in land subject to the Connor Act.

¶ 36         Additionally, Defendants argue that the Connor Act does not apply because

       Plaintiffs did not purchase their rights to Slip A for value. Indeed, the Conner Act

       protects lien creditors and “purchasers for a valuable consideration.” N.C. Gen. Stat.

       47-18. However, the record shows that Plaintiffs paid $1.9 million for Lot 2, including

       use of Slip A. For instance, the deed from the Developers shows revenue stamps
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



       reflecting that this price was paid. The parties conceded this point, and there is

       nothing to indicate that Slip A was given to them. At the very least, Plaintiffs gave

       up their “right” to receive Slip C at closing (that they had originally been promised)

       to receive Slip A, and Slip C has significant value. King v. McRacken, 168 N.C. 621,

       624, 84 S.E. 1027, 1029 (1915) (“The party assuming to be a purchaser for valuable

       consideration must prove a fair consideration, not up to the full price, but a price paid

       which would not cause surprise or make any one exclaim, ‘He got the land for

       nothing!’ ”).

¶ 37          We are unpersuaded by the Developers’ argument which relies on their

       evidence that Plaintiffs orally promised that they would trade boat slips after their

       closing, to correct the mistake made when the Developers conveyed the wrong slip to

       Defendants the year before. The evidence is conflicting. The Developers could have

       required Plaintiffs to enter some express written agreement to make the transfer, but

       they did not. Defendants could have protected themselves by filing an action against

       the Developers and then giving notice to the public (including Plaintiffs) of such

       pending action by recording a notice of lis pendens prior to Plaintiffs’ purchase of Lot

       1/Slip A, ten (10) months later, but they did not. All we have are allegations of verbal

       representations.
                                             IN RE J.N. &amp; L.N.

                                              2021-NCCOA-208

                                             Opinion of the Court



                                     C. Costs and Attorney’s Fees3

¶ 38          Finally, Plaintiffs appeal the award of costs and attorney’s fees to Defendants

       and the Developers. As we have reversed the trial court’s order granting summary

       judgment in favor of Defendants and the Developers on the issue of the boat slips, we

       must reverse the trial court’s order granting these parties costs and attorney’s fees

       as they are no longer a prevailing party. Further, the trial court awarded attorney’s

       fees under N.C. Gen. Stat. § 6-21.5 finding, inter alia, that Plaintiffs “knew, or

       reasonably should have known, that there was a complete absence of a justiciable

       issue of either law or fact raised by them in their verified complaint[;]” “[t]here was a

       complete absence of a justiciable issue by the Plaintiffs in this case[;]” “Plaintiffs’

       claims in this case were frivolous[;]” and “not supported by a good faith argument for

       an extension, modification or reversal of existing law.” To the extent these are

       findings of fact and not conclusions of law, they are not supported.

¶ 39          Further, the trial court’s conclusions of law that: “Plaintiffs’ claims in this case

       were frivolous[;]” “contained no justiciable issue[;]” “Plaintiffs persisted in litigating

       this case after the point when they and/or their counsel knew or should have known

       that their Complaint no longer contained a justiciable issue[]” and “were not




              3 The trial court has not entered any order on Plaintiffs’ request for attorney’s fees in

       accordance with N.C. Gen. Stat. § 6-21.5 (2015) and nothing in this opinion should be
       interpreted as a forecast by this Court.
                                         IN RE J.N. &amp; L.N.

                                          2021-NCCOA-208

                                         Opinion of the Court



       supported by a good faith argument for an extension, modification or reversal of

       existing law” are not supported by the facts in this case. Nothing in this case or the

       arguments of counsel for either side can be considered “frivolous” or “not supported

       by a good faith argument for an extension, modification or reversal of existing law.”

       We reverse the trial court’s award of costs and attorney’s fees.

                                          III. Conclusion

¶ 40         This matter concerns a recorded driveway easement and interests in boat slips

       between next door neighbors who never entered into a contract with each other, but

       who purchased their lots/slips from a common owner. There is conflicting evidence

       about what might have been said at various times regarding these instruments, but

       we must remember:

                    There is no other stake for which men will play so
                    desperately. In men and nations there is an insatiable
                    appetite for lands, for the defence or acquisition of which
                    money and even blood sometimes are poured out like
                    water. The evidence of land-title ought to be as sure as
                    human ingenuity can make it. But if left in parol, nothing
                    is more uncertain, whilst the temptations to perjury are
                    proportioned to the magnitude of the interest.

                    The infirmity of memory . . . the honest mistakes of
                    witnesses, and the mis-understanding of parties, these are
                    all elements of confusion and discord which ought to be
                    excluded[.]

       Moore v. Small, 19 Pa. 461, 465 (1852).
                                          IN RE J.N. &amp; L.N.

                                           2021-NCCOA-208

                                          Opinion of the Court



¶ 41            Here, regarding the Easement, we affirm in part and reverse in part.

       Defendants may make reasonable use of the Easement, which may include the

       parking of cars within the Easement area. Plaintiffs may make use of the Easement

       that does not interfere with Defendants’ rights to the Easement. This use may

       include, at times, the right to use the Easement for ingress and egress by vehicles.

¶ 42            Regarding the boat slips, we reverse, specifically the portion of the order

       directing that the deeds conveying Slip A to Plaintiffs and Slip C to Defendants be

       reformed. We conclude that Plaintiffs’ interest in Slip A is superior to Defendants’

       claim.

¶ 43            Regarding the costs and attorney’s fees, we reverse. Defendants are not the

       prevailing party, such that they are entitled to attorney’s fees, and neither party has

       brought or maintained a frivolous argument.

                AFFIRMED IN PART, REVERSED IN PART, MODIFIED IN PART.

                Judges MURPHY and WOOD concur.
